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                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA
                                            Case No. 10-22071-CIV-UNGARO


 GUSTAVO SAMPAIO,

       Plaintiff,

 v.

 LAW OFFICES OF ROSE
 GELFAND, LLC,

       Defendant.


                    ADMINISTRATIVE ORDER CLOSING CASE

       THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary

 Dismissal with Prejudice. (D.E. 5.)

       THE COURT is fully advised in the premises. Accordingly, it is hereby

       ORDERED AND ADJUDGED that for administrative purposes this case is

 hereby CLOSED.

       DONE AND ORDERED in Chambers at Miami, Florida, this 20th day of

 July, 2010.


                                       _______________________________
                                       URSULA UNGARO
                                       UNITED STATES DISTRICT JUDGE

 copies provided: counsel of record
